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                                                                                         MAR 25 2025
                                 (17-l0t{Part 17-10)
               Filed on March 20, 2025, 11:06:51                                A1vf~ :;,::
                 Case No. 25cv00613 (NOGA) (MLB)
              IN THE UNITED STATES DISTRICT COURT
             FOR THE N.ORTHERN DISTRICT OF GEORGIA
                        ATLANTA DIVISION


In re:
GROUP MANAGEMENT CORP. (Debtor),

03-93031 (BC NDGA), Chapter 11



                                            On appeal in:
ULYSSES T. WARE and d/b/a GROUP MANAGEMENT, (a sole proprietorship),
Appellants,
v.
ALPHA CAPITAL, AG, et al., Predatory Unregistered Broker-Dealers,
Appellees.


[Docket Text] March 20, 2025, (17-10) (Part 17-9) APPELLANTS' 28
USC§ 1654 SUPPLEMENTAL MEMORANDUM OF LAW (#6) IN
SUPPORT OF Dkt. 12, (17-1) MARCH 10, 2025, APPLICATION
FOR ARTICLE III "THRESHOLD" JURISDICTIONAL SHOW
CAUSE ORDER AND OTHER RELIEFS-THE HOBBS ACT
CRIMINAL LIABILITY AND CULPABILITY OF KTS, ET AL.

Respectfully submitted,
/s/ Ulysses T. Ware

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(17-10) (part 17-10) re: Appellants' Supplemental Memorandum of Law (#6) re: Criminal liability and
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28 USC§ 1654 Attorney-in-fact for Appellants, Group Management (a sole proprietorship) and
Ulysses T. Ware


cc:
The Office of the District Clerk (NDGA).
Executive Director Administrative Office of the U.S. Courts,
Office of the FBI Director,
via U.S. mail.



                     28 USC § 1654 Pro Se Appellants' Certificate of Filing

I, Ulysses T. Ware, attorney in fact for the Appellants, hereby certify under penalty of perjury that
on this 20th day of March 2025, I caused to be served a true and correct copy of the foregoing
Appellants' Memorandum of Law (#6) in Support ofDkt. 12, Appellants' March 10, 2025 , (17-1)
(Part 17-1) Show Cause Order, Appellate Status Conference, Stay of Briefing Schedule (Dkt. I 0),
and Other Reliefs via U.S. mail and electronic mail to the Chambers of the Hon. District Judge
Michael L. Brown and to ·the Office of the District Clerk (NDGA), Executive Director
Administrative Office of the U.S. Courts, and Office of the FBI Director.


Signed under oath subject to the penalty of perjury having personal knowledge of the facts,
pursuant to 28 USC § 1746 this 20th day of March 2025 , in Brooklyn, NY.


Isl Ulysses T. Ware,. /
C){~~,w~
For Ul/ sses...T. Ware, a natural person, d/bla Group Management, a sole proprietorship, pursuant
to 28 USC § 1654.




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                APPELLANTS' SUPPLEMENTAL MEMORANDUM
                        OF LAW LETTER-BRIEF (#6)


I. INTRODUCTION
        Appellants, Ulysses T. Ware and Group Management, by and through their attorney in fact,
Ulysses T. Ware, respectfully submit this Memorandum of Law (#6) to provide a more exhaustive,
detailed, and factually grounded analysis of the criminal culpability and liability of Appellee
Kilpatrick Townsend & Stockton LLP ("KTS") and each of its unregistered broker-dealer clients.
This expanded memorandum further underscores the profoundly egregious nature of the
Appellees' documented misconduct and compellingly demonstrates the urgent necessity for this
Honorable Court to issue the previously requested Dkt. 12, Application for a Show Cause Order
(17-1), convene an Appellate Status Conference, and stay the briefing schedule (Dkt. 10).

        Building upon the foundation laid in prior submissions, see Dkt. 12 (25cv00613 (NDGA)),
this memorandum will present a meticulously detailed and fact-specific exposition of the extensive
and ongoing criminal conduct engaged in by KTS, its unregistered broker-dealer clients, their
agents, proxies, surrogates, alter-egos, and all those in active concert therewith, jointly, an illegal
association in fact as defined in 18 USC§ 1961(4), a continuing criminal enterprise, hereinafter,
("KTS").

       Specifically, we will delve into the factual and legal predicates for their, KTS ', willful and
knowing numerous violations of federal racketeering statutes, criminal usury laws, money
laundering prohibitions, mail and wire fraud, extortion, Hobbs Act, conspiracy, bankruptcy fraud
conspiracy, and obstruction of justice statutes. Our detailed and thorough analysis will draw
extensively from the irrefutabie evidentiary record before this Court, including the Joint Stipulated
Appellate Record (Dkts. 5 and 9), the "Zitter Confessions" (Exhibit F-11), and the "smoking gun"
KTS Memo (Exhibit F-10), all of which provide compelling and unequivocal proof of Appellees '
racketeering criminal culpability and warrant immediate judicial intervention. 1




1
   The detailed factual and legal exposition set forth herein builds upon prior submissions, including
Appellants' original Application for a Show Cause Order ( 17-1 ), Dkt. 12, Supplemental Memoranda ( l 7-
4, 17-5, 17-6, 17-8, and 17-9), and related filings (17-2, 17-3, and 17-7). These filings collectively document
a pervasive pattern of egregious misconduct by Appellee Kilpatrick Townsend & Stockton LLP ("KTS"),
its certified unregistered broker-dealer clients, and other parties acting in concert, amounting to an illegal
association-in-fact racketeering enterprise under 18 U.S.C. § 1961 (4) . See specifically, Dkt. 9, "Zitter
Confessions" (Exhibit F-11) and the "KTS Memo" (Exhibit F-10), unequivocally evidencing willful
violations of federal racketeering statutes, criminal usury prohibitions (N. Y. Penal Law § 190.40), and
securities laws (15 U.S.C. §§78o(a)(l), 78cc(b)), which compel immediate judicial intervention to preserve
the integrity of this Honorable Court and prevent ongoing irreparable harm.

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II. DETAILED ANALYSIS OF PREDATORY CRIMINAL
CULPABILITY AND LIABILITY OF KTS, ITS PRIVIES,
AGENTS, PROXIES, SURROGATES,   ALTER-EGOS, ALL
THOSE IN ACTIVE CONCERT THEREWITH, AND ITS
UNREGISTERED BROKER-DEALER CLIENTS.
        The pervasive criminal culpability and liability ofKTS and its unregistered broker-dealer
clients stem directly from their meticulously planned and relentlessly executed scheme to
unlawfully enforce and collect on Predatory Criminal Usury Subject Matter debt instruments, GX
1-4 and GX 5 in violation of federal racketeering laws, 18 USC 1951(a), 1961(6)(B), and 1962(a-
d). 2 This unlawful enterprise, characterized by brazen disregard for legal and ethical norms,
constitutes a constellation offederal criminal violations, each of which will be analyzed in granular
detail below.

A. Predatory Hobbs Act Extortion (18 U.S.C. § 1951(a)): Leveraging the Bankruptcy
Court for Coercive Unlawful Debt Collection.

        Appellees, KTS, its agents, and its unregistered broker-dealer clients, jointly and severally,
are subject to criminal culpability and liability for Hobbs Act extortion, a felony offense under 18
U.S.C. §§ 2, 152, 157,371, 924(c), 1201-02, and 195l(a).3 The Hobbs Act, rigorously interpreted
and enforced by federal courts, proscribes extortion, defining it as "the obtaining of property
[Appellant Group Management's free-trading equity securities] from another [Appellants Ulysses
T. Ware and Group Management], with his consent, induced bv wrongful use of actual or

2
  See Dkt. 9 (F-10) and (F-1 1) for Appellee Kenneth A. Zitter, Esq.' s binding judicial admissions and
confessions in open court while testifying for the government in U.S. v. Ware , 04cr1224 (SDNY)-that is,
Zitter while under brutal cross-examination by Appellant Ware in tears and under emotional distress after
being exposed/or lying and committing perjury confessed and admitted that he "hired" KTS and Appellee
Dennis S. Meir, Esq. to appear in, delay, hinder, and obstruct Appellant Group Management's 03-93031
Chapter 11 reorganization to rid itself of the predatory criminal usury debts, and to enable "my clients" (the
02cv22 l 9 (SDNY) plaintiffs), cf., Dkt. 5-2 (KTS' fraudulent entry of appearance in 03-93031 Chapter 11
on behalf of Zitter's unregistered broker-dealer clients) to continue their dangerous Hobbs Act unlawful
debt collection activities against Appellant concerning the Predatory Criminal Usury Subject Matter, GX
1-4, and GX 5, in violation of 18 USC §§ 2, 152, 157, 1341, 1343, 1344, 1503, 195l(a), 1956-57,
1961 (6)(B), and 1962(a-d), a pattern of racketeering unlawful debt collection activities. See Grote, 961
F.3dat 105, 109-119.
3
  See indisputable proof, clear and convincing evidence, 25cv006 13 Dkt. 5-13 on pages 55-60 (armed,
unlawful, forced break-in of Appellant Ware's personal residence in Brooklyn, NY, and law office in
Atlanta, GA by U.S. Marshals or persons impersonating U.S. Marshals, under the command and control of
the Appellees, conducting armed and dangerous Hobbs Act unlawful debt racketeering loan sharking,
money laundering, and unlawful debt collection activities regarding GX 1-4, and GX 5 on behalf of and as
agents in fact for the Appellees and KTS).


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threatened force, violence, or fear, or under color ofofficial right." Id. In this matter, Appellees'
pervasive and current ongoing criminal misconduct squarely falls within the ambit of Hobbs Act
proscriptions. 4

      1. The Criminal and Wrongful Exploitation of the 03-93031 Chapter 11 Bankruptcy
          Court "Under Color of Official Right" as an Instrument of Predatory Coercion:
          Appellees, acting as officers of the court and wielding the perceived legitimacy and
          authority of the judicial process, strategically and wrongfully exploited the Bankruptcy
          Court as a coercive instrument to extract unlawful payments and compel stock
          relinquishment from Appellants.5 This deliberate manipulation of the judicial system
          constitutes a blatant abuse of "color of official right," a key element of Hobbs Act extortion.
          See Evans v. United States, 504 U.S. 255, 268 (1992) (defining "color of official right" in
          the context of Hobbs Act extortion). The wrongful nature of this exploitation is
          underscored by the fact that Appellees'(officers of the court) actions were predicated upon
          predatory criminal usury debts, GX 1-4, undeniably null and void ab initio and criminally
          usurious. See NYS Penal Law, § 190.40, the criminal usury law, a class E felony:

              a) Zitter's Explicit Judicial Admissions of Predatory "Unlawful Debt Collection
                 Activity" within the 03-93031 Bankruptcy Court, Dkt. 5-1 to 5-6 (see Dkt. 9
                 (F-10 and F-11)): The Nov. 2007 sworn testimony of Appellee Kenneth A. Zitter,
                 Esq. in the moot and void ab initio U.S. v. Ware, 04crl 224 (SDNY) proceedings 6
                 provides direct and irrefutable evidence of this wrongful exploitation of the judicial
                 process by officers of the court- that is, a fraud on the court. Zitter explicitly
                 admitted under oath that Kilpatrick Townsend & Stockton LLP, and specifically
                 Dennis S. Meir, Esq., were "hired" by Zitter and KTS clients to represent them in
                 the 03-93031 Bankruptcy Case for the express purpose of pursuing Hobbs Act

4
    See 25cv00613 Dkt. 5-13 on pages 40-60; 88-96; and 125-185.
5
 See Id. Dkt. 9 (F-10 and F-11) Zitter' s Nov. 2007 judicial admissions and confessions regarding KTS in
open court while testifying and knowingly committing perjury for the Government, Rabinowitz, LH
Financial Services, and the unregistered broker-dealers in U.S. v. Ware, 04crl224 (SONY).
6
  Moot, null and void ab initio, and extra-judicial Jim Crow racially-motivated retaliatory predatory
unlawful debt collection activities in violation of the Hobbs Act (18 USC§ 195l(a)), and racketeering loan
sharking federal laws, 18 USC §§ 2, 152, 157, 371, 924(c), 1201-02, 1503, 1956-57, 1961(6)(B) and
1962(a-d). See 25cv00613 (NOGA) Dkt. 5-13 on pages 40-60. Cf., Id. on page 58 (AUSA Alexander H.
Southwell's admission and confession of the dangerous Hobbs Act Sept. 1, 2004, illegal arrest, search,
seizure, assault, batter, attempted armed robbery, and harassment of Appellant Ware by four heavily armed
persons hired to impersonate U.S . Marshals undertaking dangerous (armed) predatory unlawful debt
collection activities in Atlanta, GA (see Id. on page 57) in furtherance of the Appellees' loan sharking
racketeering criminal enterprise's unlawful activities- that is, a "single instance of unlawful debt collection
activity" on Sept. 1, 2004, in Atlanta, GA, and again on Sept. 12, 2024, in Brooklyn, NY (see Id. on pages
54-56) renders all Appellees and their "privies" named in this appeal liable under 18 USC § 1962(d) for
treble (3x) and punitive damages under 18 USC§ l 964(c), the sum certain amount of$5.2225 billion,jointly
and severally, personally and individually. Grote, 961 F.3d at 119.

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                  extortion and 18 U.S.C. §1961(6)(B) 'collection activity' against Group
                  Management Corp. (Exhibit F-11, Docket 298, Page 7, ,r 1). This judicial
                  confession, extracted under rigorous cross-examination by Appellant Ware,
                  constitutes a watershed evidentiary admission of Hobbs Act extortionate intent and
                  purpose.

      2. Predatory Coercion and Unlawful Extraction Predicated Upon Criminally Usurious
         Debts (GX 1-4): The foundation of Appellees' predatory and coercive criminal scheme
         rested upon the Predatory Criminal Usury Subject Matter debts, GX 1-4, which are
         undisputedly null and void ab initio, unenforceable, uncollectible, and criminally usurious
         under New York Penal Law§ 190.40. 7 Utilizing the 03-93031 Bankruptcy Court to enforce
         and/or collect these legally null and void obligations constitutes a profoundly wrongful and
         predatory unlawful act, directly contravening established legal and ethical principles.

              a) Predatory Criminally Usurious Nature of GX 1-4: As meticulously detailed in
                 prior memoranda, Dkt. 12 (17-1), GX 1-4 bear interest rates far exceeding the 25%
                 statutory cap (+2,000%) under New York law, rendering them criminally usurious
                 and void from their inception, Feb. 2001. 8 This fundamental illegality vitiates any



7
    Adar Bays, LLC v. GeneSYS ID, Inc., 28 F.4d 379 (2d Cir. 2022).

8
  See KTS' Hobbs Act unlawful debt collection activity, 18 USC§§ 1951(a), 1961(6)(B), and 1962(a-d),
in 03-93031, 18 USC §§ 152 and 157, conspiracy to commit bankruptcy fraud on the court, the Appellants,
and other creditors, in violation of Banlcr. Rule 901 l(b)(l-4) and 28 USC § 1927 binding judicial
admissions pleaded in 0kt. 5-5 on page 1, 'IJ 2 ("Movants [KTS' unregistered broker-dealer client, who are
also 15 USC§ 78p(b) statutory insiders of the Debtors, (see Sand, J., 0kt. 5-13 on pages 43-47, Aug. 13,
2003, 0kt. 65, final order finding the KTS' clients (predators) to be the "beneficial owners of more than
9.9% of GMC's stock" which triggered disgorgement (11 USC§ 542(a)) of +$522 million in strict-liability
insider-trading profits back to the 03-93031 Chapter 11 estate, see Roth v. Jennings , 489 F.3d 499, 506-10
(2d Cir. 2007) (Kearse, J.), and therefore as a matter of law KTS' clients (oredators) cannot be creditors]
are creditors of the Debtor. On or about February 21 2001, Movants [KTS' clients (predators), the
unregistered broker-dealers] purchased notes [GX 1-4] from the Debtor [via GX 5] in an aggregate principal
amount in excess of $1 million. The Debtor /Appellant Group Management] has failed to satisfy its
obligations under the {predatory criminal usury, null and void ab initio[ notes {GX 1-41 and related [null
and void ab initio, see 15 USC§ 78ccfb)f subscription agreements {GX 51. "); page 3, ,is ("Plainly, this
case was not commenced for the purpose of reorganization [Appellants filed the Chapter 11 to rid Group
Management of the predators and terminate their daily Hobbs Act threats of violence they stated that they
would and were going to commit against Appellant Ware unless Appellant Ware agreed to criminally
violate the federal securities and racketeering laws, and draft and issue bogus and fraudulent Rule 144(k)
legal opinions to the predators to enable an illegal unregistered public offering of Group Management's
equity securities to satisfy the predatory criminal usury null and void ab initio unlawful debt, GX 1-4], but
to evade compliance with the [null and void ab initio, and moot] Order and Judgment and Contempt Order
of the United States District Court for the Southern District of New York [02cv22 l 9 (SONY), Sand, J .,
deceased]. Consequently, pursuant to 11 U.S.C. § l l 12(b) and 11 U.S.C. § 305(a), this Court should dismiss
the Debtor's Chapter 11 case because it has been filed in bad faith .").

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                 legitimate basis for Appellees to utilize the Bankruptcy Court for their enforcement
                 or collection.

     3. The Predators' Inducement of Fear and Threat of Economic Ruin to Coerce Unlawful
        Payments and Stock Relinquishment: Appellees' calculated and relentless actions within
        the Bankruptcy Court created an environment of intense duress and fear of economic ruin
        for Appellants.9 This coercive atmosphere was intentionally designed to induce Appellants
        to make unlawful payments and relinquish valuable stock to avert further judicial abuse
        and financial devastation. This constitutes the "fear" element requisite for Hobbs Act
        extortion. See United States v. Capo, 793 F.2d 1086, 1090 (9th Cir. 1986) (defining "fear"
        in the context of Hobbs Act extortion to include fear of economic loss). See Dkt. 5-16 on
        pages 50-63 (the Declaration of Group Management's former CEO Elorian Landers). 10


9
  See Declaration of Elorian Landers, the former CEO of Group Management, Dkt. 5-16, (F-9) on page 56
(123); page 59 (1134, 35, and 36); page 60 (138); page 61 (142); page 61 (143-unlawful debt collection
activity by Ari Kluger on behalf of KTS ' unregistered broker-dealer client, Alpha Capital , AG); page 61
Hobbs Act threats (1145 , 46, 47, and 48: numerous "instances to collect unlawful debts," GX 1-4, in
violationofl8 USC 195l(a), 19"61(6)(8), and 1962(a-d)).
10
   "The essence of extortion within the meaning of the Hobbs Act, as it pertains to the present case, is the
extraction ofpropertv from another through the wrongful use of fear. The victim's fear need not be fear
of bodily harm but may be fear ofa loss that is purely economic,. E.g., United States v. Margiotta, 688
F.2d 108, 134 (2d Cir. 1982), cert. denied, 461 U.S. 913 , 103 S.Ct. 1891, 77 L.Ed.2d 282 (1983); United
States v. Brecht, 540 F.2d 45, 51 (2d Cir. 1976), cert. denied, 429 U.S. 1123, 97 S.Ct. 1160, 51 L.Ed.2d
573 (1977); United States v. Hathaway, 534 F.2d 386,394 (1st Cir.), cert. denied, 429 U.S. 819, 97 S.Ct.
64, 50 L.Ed.2d 79 (1976); United States v. Tropiano, 418 F.2d 1069, 1083 (2d Cir. 1969), cert. denied, 397
U.S. 1021 , 90 S.Ct. 1262, 25 L.Ed.2d 530 (1970). While commonly the economic loss feared by the
victim is the loss of an existing asset [Appellant Group Management's free-trading securities], see, e.g. ,
United States v. Lisinski, 728 F.2d 887 (7th Cir.), cert. denied, _ U.S. _ , 105 S.Ct. 122, 83 L.Ed.2d 64
(1984) (fear oflosing liquor license), the scope of the Act is not so limited. Thus, the Act has been held to
reach conduct threatening the loss ofa status (by Appellant Ware's theft of his license to practice law in
Georgia/ that would produce future assets. See, e.g., United States v. Daley, 564 F.2d 645, 648 (2d Cir.
 1977) (employees' fear of losing their jobs and contractors' fear of losing future job assignments), cert.
denied, 435 U.S. 933, 98 S.Ct. 1508, 55 L.Ed.2d 530 (1978); United States v. Margiotta, 688 F.2d at 133-
35 (fear that municipal insurance business would be transferred to other agencies, thereby costing the victim
future commissions). Nor is the concept of economic loss under the Act limited to the loss of existing
relationships, for that concept has been held to encompass the loss of an opportunity to enter into a
business relationship. See, e.g., United States v. Addonizio, 451 F.2d 49, 73 (3d Cir. 1971) (victims' fear
that they would not be awarded certain contacts), cert. denied, 405 U.S. 936, 92 S.Ct. 1309, 31 L.Ed.2d 591
(1972); United States v. Brecht, 540 F.2d at 52 (same); United States v. Hathaway, 534 F.2d at 395-
96 (same). In United States v. Tropiano, we held that loss of the right to do business in an area or to bid for
contracts would constitute the requisite economic loss:
         The concept of property under the Hobbs Act ... includes, in a broad sense, any valuable right
         considered as a source or element of wealth. .... The right to pursue a lawful business [the right
         of Appellant Ware to practice law] including the solicitation of customers necessary to the conduct
         of such business has long been recognized as a property right within the protection of the Fifth and

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            a) "Smoking Gun" KTS Memo Evidencing Extortionate Intent: The "smoking
               gun" KTS Memo (Dkt. 9, Exhibit F-10) provides further incontrovertible evidence
               of Appellees' extortionate intent and calculated strategy. The KTS Memo explicitly
               analyzes "The KTS § 78p(b) insider-trading memo" (Docket 298, Page 4) and
               reveals KTS's deep awareness, dating back to 2004, of their clients' potential $522
               million disgorgement liability under 15 U.S.C. § 78p(b) (Docket 298, Page 4, ,I 1).
               This memo demonstrates Appellees' early (2011) and comprehensive awareness of
               their predatory clients' substantial insider trading liability and their deliberate
               strategy to conceal this critical asset from the Bankruptcy Court (Docket 298, Page
               5), thereby perpetrating a fraud upon the court and creditors and utilizing the court
               as a coercive instrument.

B. Predatory Racketeering Bankruptcy Crimes (18 U.S.C. §§ 1961(6)(B) & 1962(a)-
(d)): Operating a RICO Enterprise Engaged in Unlawful Debt Collection and Fraud.

       Appellees, KTS and their predatory unregistered broker-dealer clients, are further subject
to criminal culpability and liability for racketeering bankruptcy crimes under the Racketeer
Influenced and Corrupt Organizations Act (RICO), 18 U.S.C. §§ 1961(6)(B) & 1962(a)-(d). RICO,
a powerful federal statute designed to combat organized crime, prohibits engaging in a "pattern of
racketeering activity," which explicitly includes "unlawful debt collection." 18 U.S.C . §
1961(6)(B). Appellees ' conduct demonstrably constitutes a RICO violation.

    1. Operation of a Criminal RICO Enterprise: An Illegal Association in Fact, 18 USC
        1961(4): Appellees, acting in concert and with a common criminal purpose, operated as an
        illegal association in fact, a RICO enterprise, to perpetrate their unlawful extremely
        dangerous predatory extortion scheme. This criminal enterprise consists of KTS, its
        partners and associates, their unregistered broker-dealer clients, and other agents and
        proxies acting in furtherance of the illicit enterprise. See Boyle v. United States, 556 U.S.
        938, 944 (2009) (defining a RICO enterprise as "a group of persons associated together for
        a common purpose of engaging in a course of conduct"). 11


        Fourteenth Amendment of the Constitution. [The] right to solicit accounts ... constituted property
        within the Hobbs Act definition. 418 F.2d at 1075-76 (citations omitted). United States v. Capo,
        791 F.2d 1054, 1061-62 (2d Cir. 1986). (emphasis added).

11
   See Dkt. 5-13 on page 52 (the testimony and judicial admissions of Appellee Arie Rabinowitz, who is in
privy with the predatory unregistered broker-dealers) and Dkt. 5-16 (F-8), pages 41-49, the Declaration of
Baker & McKenzie, LLP and Lawrence B. Mandala, Esq., Group Management's purported securities
counsel, in reality a covert agent in fact of and for the predatory Appellees ' attempts to extort Group
Management out of +39 million free trading shares via a bogus and fraudulent Form SB-2 null and void ab
initio registration statement, valued at more than +$5 .2225 billion in post Chapter 11 market capitalization.
Mandala and Baker & McKenzie, LLP colluded, conspired, and racketeered with the predators, KTS ' s
clients, to secretly and covertly extort Baker's client, Appellant Group Management of billions in market
capitalization, reckless and negligent purported legal advice, received unjust enrichment from their breach
of fiduciary duty to the Chapter 11 Debtor, Group Management, and knowingly and willfully violated NYS

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     2. Pattern of Racketeering Activity: A Multifaceted Scheme of Unlawful Debt Collection
        and Fraudulent Conduct: Appellees before, during, and after the Chapter 11 was
        fraudulently dismissed with prejudice in May 2003 , Dkt. 28 (03-93031), have without
        interruption and continuously engaged in a pervasive and sustained pattern of racketeering
        activity, meticulously orchestrated to facilitate unlawful debt collection and defraud the
        Bankruptcy Court and creditors. This pattern of racketeering activity includes, but is not
        limited to, the following predicate acts:

            a) Unlawful Debt Collection (18 U.S.C. § 1961(6)(B)): Appellees ' core racketeering
               activity centers on the unlawful collection of criminally usurious debts, OX 1-4,
               which, as previously established, are "unlawful debts" under RICO. Every attempt
               to enforce or collect on these void ab initio obligations constitutes a predicate
               racketeering act. See United States v. Grote, 961 F.3d 105, 119 (2d Cir. 2020)
               (holding that "RICO offenses may be predicated on a single instance of collection
               of unlawful debt" ). 12
            b) Bankruptcy Fraud (11 U.S.C. §§ 152 & 157): Appellees and their privies have
               knowingly, willfully, and in bad faith perpetrated a systematic and multifaceted
               bankruptcy fraud scheme, encompassing:

                   1.   Filing False and Fraudulent Claims (11 U.S.C. § 152(2) & (3)):
                        Appellees knowingly and fraudulently filed false claims (0kt. 5-2, 5-3, 5-
                        4, 5-5, 5-6) in the Bankruptcy Court based on the void and criminally
                        usurio~s debts, OX 1-4, while concealing their illegality and lack of Article
                        III standing.
                  11.   Concealment of Estate Assets (11 U.S.C. § 152(1)): Appellees
                        deliberately concealed the +$522 million insider trading disgorgement
                        liability owed by KTS Clients to the Chapter 11 estate, a material asset that
                        should have been disclosed to the Bankruptcy Court and creditors. Dkt. 5-
                        13 on pages 43-48 .
                 111.   False Oaths Under Penalty of Perjury (11 U.S.C. § 152(2)): Appellees
                        made numerous false oaths under penalty of perjury in their Bankruptcy
                        Court filings , misrepresenting the validity of their claims and concealing
                        their fraudulent scheme. Dkt. 5-2 (i1I-referring to the predators as
                        "creditors"); Dkt. 5-3 , page 3, i]7, referring to the predator as "creditors",
                        and lying in regard to the lawful purpose of reorganization to rid Group

Penal Law, § 190.40, the criminal usury law, a class E felony, violated federal racketeering law, 18 USC
1961 (6)(B), by aiding and abetting the collection of the predatory criminal usury unlawful debts, GX 1-4;
and knowingly violated the District Court (NDGA), the ABA's, and Texas Rules of Professional Conduct,
Rules 3.3 and 8.4, by Mandala, Albaral, Malliband, and Leghorn's breach of complete duty of candor to
the District Court regarding Baker' s, Mandala, Leghorn, Albaral, and Malliband ' s roles in the fraud and
conspiracy committed by KTS ' predatory unregistered broker-dealer clients.
12
  See 25cv00613 (NDGA) Dkt. :S-15 on pages 41-63 , the Declaration of Appellee Baker & McKenzie, LLP
and Lawrence B. Mandala, Esq. (pages 41-49), and Elorian Landers (pages 50-63).

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                        Management of the predators and daily Hobbs Act threats of violence); Dkt.
                        5-5 (if2: referring to the predators as "creditors"; if3: lying and
                        misrepresenting the lawful purpose of Group Management's reorganization
                        to rid itself of the predators; if4; ,is; if6)

   3. Mail and Wire Fraud (18 U.S.C. §§ 1341 & 1343): Appellees utilized the U.S. mail and
      electronic communications (wires) in furtherance of their fraudulent scheme, including the
      filing of false claims, the concealment of estate assets, and the dissemination of misleading
      information to the Bankruptcy Court and creditors. These actions constitute mail and wire
      fraud, predicate acts under RICO. See Schmuck v. United States, 489 U.S. 705, 715 (1989)
      (defining mail fraud and wire fraud as predicate acts under RICO).
   4. Obstruction of Justice (18 U.S.C. § 1503): Appellees engaged in obstruction of justice
      by knowingly and intentionally impeding and obstructing the due administration of justice
      in the Bankruptcy Court. This obstruction included the filing of frivolous and bad faith
      motions, the concealment of material evidence, and the abuse of the judicial process to
      further their unlawful debt collection scheme.
   5. Hobbs Act Extortion (18 U.S.C. § 1951(a)): As detailed in Section II. A, supra, Appellees
      knowingly and willfully engaged in Hobbs Act extortion by wrongfully exploiting the
      Bankruptcy Court to coerce unlawful payments and stock relinquishment from Appellants,
      a predicate act of racketeering under RICO. See Dkt. 5-1 to 5-6.
   6. Definitive Evidence of Racketeering Enterprise and Pattern: "Zitter Confessions"
      and KTS Memo: The "Zitter Confessions" (Dkt. 9, Exhibit F-11) and the KTS Memo
      (Dkt. 9, Exhibit F-10) provide conclusive and irrefutable evidence of Appellees ' RICO
      enterprise and pattern of racketeering activity. These documents, constituting binding
      iudicial admissions and selfincriminating statements, reveal a calculated and cynical
      scheme to exploit the Bankruptcy Court for unlawful gain and to perpetrate a fraud upon
      the court and creditors. The coordinated "strategies and pleadings" between Zitter
      (Appellees' 02cv22 l 9 SDNY counsel) and Meir/KTS (Appellees' 03-93031 Bankruptcy
      Counsel), particularly when juxtaposed with the demonstrably fraudulent and baseless
      nature of KTS' filings (Dkt. 5-2, 5-4, 5-4, and 5-6), strongly suggest and exemplify a pre-
      planned, coordinated, and concerted RICO scheme to abuse the 03-93031 Bankruptcy
      Court and to perpetrate a fraud upon the Bankruptcy Court (Docket 298, Page 7, ,i 4).

C. Predatory Bankruptcy Fraud (11 U.S.C. §§ 152 & 157): A Scheme to Defraud the
Bankruptcy Court and C~editors, Dkt. 5-1 to 5-6.

         Appellees ' criminal culpability extends to violations of federal bankruptcy fraud statutes,
11 U.S .C. §§ 152 & 157. These statutes criminalize devising or intending to devise "a scheme or
artifice to defraud" in bankruptcy, encompassing a wide range of fraudulent conduct aimed at
undermining the integrity of the bankruptcy system.

    1. Comprehensive Scheme to Defraud: Appellees, through their coordinated actions
       evidenced throughout Docket 298 and, Dkt. 9, Exhibits F-10 and F-11, maliciously,
       willfully, and in bad faith recklessly devised and executed a comprehensive criminal

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        scheme to defraud the Bankruptcy Court and creditors. This scheme, perpetrated by
        Appellees KTS, Meir, Mill, Zitter, convicted felon Edward M . Grushko, Esq., Barbara R.
        Mittman, Esq., Alexander H. Southwell, Esq., the U.S . Marshals (SDNY and NDGA), et
        al., encompassed multiple fraudulent tactics:

            a) Filing Fraudulent Claims Based on Predatory Null and Void Alleged Debts:
               Appellees knowingly filed fraudulent claims and pleading, Dkt. 5-1 to 5-6, based
               on predatory void ab initio and criminally usurious debts (GX 1-4), misrepresenting
               these obligations as valid and enforceable to extract unlawful payments from the
               Chapter 11 estate. This constitutes a direct violation of 11 U.S.C. § 152(2) & (3) .
            b) Strategic Concealment of Jurisdictional Defects and Insider Trading
               Liabilities: Appellees strategically concealed material jurisdictional defects,
               including their lack of Article Ill standing, and the +$522 million insider trading
               liability owed by KTS Clients to the Chapter 11 estate. This deliberate concealment
               was intended to prevent the Bankruptcy Court and creditors from discovering the
               fraudulent nature of their claims and the true financial condition of the estate. This
               constitutes a violation of 11 U.S.C. § 152(1). 13
            c) Abuse of the Bankruptcy Court for Unlawful Debt Collection and Extortion:
               Appellees deliberately abused the Bankruptcy Court as an instrument for unlawful
               debt collection and extortion, utilizing the judicial process to coerce Appellants into
               making unlawful payments and relinquishing stock. This manipulation of the
               Bankruptcy Court for illicit purposes constitutes a core element of their bankruptcy
               fraud scheme. This conduct falls under the scheme to defraud provision of 11
               U.S.C. § 157. Dkt. 5-1 to 5-10.
            d) Willful Violation of the Automatic Stay: Appellees willfully violated the
               automatic stay imposed by 11 U.S.C. § 362, continuing to pursue unlawful debt
               collection activities despite explicit knowledge of the stay and its prohibitions. This
               knowing and intentional circumvention of a court order constitutes a contemptuous
               and fraudulent' act within the bankruptcy proceeding.

     2. Multifaceted Scheme Warranting Criminal Prosecution: This multifaceted and
        meticulously executed scheme to defraud the Bankruptcy Court and creditors squarely falls
        within the ambit of 11 U.S.C. § 157, warranting thorough criminal investigation and
        prosecution of all culpable parties.




13
   See Dkt. 5-13 on pages 43-48- Sand, J. Aug. 13, 2003, Dkt. 65 , final order finding the predators to be
15 USC § 78p(b) statutory insiders (fiduciaries) of the Chapter 11 Debtor, Group Management, which
triggered 11 USC §§ 542(a) and 15 USC 78p(b) tumover/disgorgement of +$522 million strict-liability
short-swing insider-trading profits to the 03-93031 Chapter 11 estate for administration to creditors, Roth,
489 F.3d at 506-10.

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D. Short-Swing Insider Trading (15 U.S.C. § 78p(b)): Exploitation of Confidential
Information for Illicit Profit. See Dkt. 5-13 on pages 43-45.

        Appellees, specifically KTS Clients as §16 statutory insiders of Group Management Corp.
(GPMT), are further criminally culpable for engaging in illegal short-swing insider trading in
violation of 15 U.S.C. § 78p(b). This statute prohibits corporate insiders (fiduciaries), the
predators, from profiting from the purchase and sale, or sale and purchase of the corporation's
(then Group Management Corp.) securities within a six-month period, designed to prevent the
unfair use of inside information. Roth , 489 F.3d at 506-10.

    1. Predatory Illegal Insider Trading and Generation of Illicit Profits at the Expense of
       the Estate: KTS Clients, by virtue of their status as statutory insiders (fiduciaries of the
       Chapter 11 Debtor) with access to confidential, non-public information about GPMT,
       engaged in illegal short-swing trading of GPMT securities, realizing illicit profits
       exceeding $522 million. These profits were generated at the direct expense of the Chapter
       11 estate, unjustly enriching Appellees while diminishing the assets available to satisfy
       legitimate creditor claims. This constitutes a flagrant violation of 15 U.S.C. § 78p(b).

            a) Judicial Admission of Insider Trading and Liability: The KTS Memo (Dkt. 9,
               Exhibit F-10) itself explicitly analyzes ["The KTS § 78p(b) insider-trading memo"
               (Docket 298, Page 4)] and reveals KTS's deep awareness, dating back to 2003, of
               their clients' potential $522 million disgorgement liability under 11 USC § 542(a)
               and 15 U.S.C. § 78p(b) (Docket 298, Page 4, ,i 1). This constitutes a self-
               incriminating judicial admission of insider trading and the magnitude of their illicit
               profits. Furthermore, the court order of Judge Sand (Dkt. 65 , 02cv2219 (SDNY)),
               cited in Dkt. 5-13 at pages 43-45, judicially established KTS Clients' § 16 statutory
               insider (fiduciary) status based on the judicial admissions of Appellees KTS and its
               client, Appellee Stonestreet, L.P.

    2. Strategic Concealment of Insider Trading Liability as a Key Element of the
       Fraudulent Scheme: Appellees deliberately concealed this substantial insider trading
       liability (+$522 million) from the Bankruptcy Court and creditors as an integral part of
       their overarching scheme to defraud. This predatory racketeering concealment was
       intended to prevent the recovery of this critical estate asset and to further its illicit
       enrichment at the expense of legitimate stakeholders in the Chapter 11 proceeding.

E. Predatory Egregious Ethical Violations (Georgia Rules of Professional Conduct
3.3 & 8.4): Profound Breach of Duty of Candor and Professional Responsibility

        Appellees, particularly KTS and its attorneys, as officers of the court subject to the District
Court (NDGA) and the State"Bar of Georgia's Rules of Professional Conduct, have egregiously
violated their ethical obligations under Rules 3.3 and 8.4 of the Georgia Rules of Professional
Conduct. These violations are not mere technical transgressions but represent a profound breach


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of their duty of complete candor toward the tribunals (03-93031 , and 25cv00613), and a pattern of
egregious professional misconduct.

     1. Violation of Rule 3.3: Duty of Candor Toward the Tribunal: Rule 3.3 of the Georgia
        Rules of Professional Conduct imposes a stringent duty of candor upon attorneys [Zitter,
        Southwell, NeSmith, Frederick, Burgess, Myers, Hewett, Mittlemen, Arndt, Hostetter,
        Meir, Mills, Morawetz, Townson, Treace, Walker, Kadaba, Mandala, Albaral, Leghorn,
        Malliband, Grushko, Mittman, et al. toward the tribunals, requiring them to be truthful in
        their representations to the court and to disclose material facts necessary to prevent fraud
        upon the 02cv00219 (SDNY), 03-93031 and 25cv006 l 3 federal courts. Appellees have
        flagrantly violated this fundamental ethical duty through a pattern of deceitful and
        misleading conduct:

            a) Demonstrably False and Misleading Representations: Appellees made
               demonstrably false and misleading representations to the Bankruptcy Court in their
               pleadings, motions, and other filings. Dkt. 5-1 to 5-6. These bad faith, frivolous,
               baseless, and vexatious misrepresentations included assertions regarding the
               validity and enforceability of the Predatory Criminal Usury Subject Matter debts,
               GX 1-4, and the legitimacy of their claims, all of which were demonstrably false
               and baseless. See Docket 5-2, 5-3, 5-4, 5-5, and 5-6.
            b) Strategic Concealment of Material Facts: Appellees deliberately concealed
               material facts from the Bankruptcy Court, including the void ab initio and
               criminally usurious nature of GX 1-4, their lack of Article III standing, and the
               +$522 million insider trading liability of KTS Clients. This calculated concealment
               was intended to deceive the court and prevent it from rendering just and informed
               decisions.
            c) Perpetration of a Fraud Upon the Court: The totality of Appellees' conduct
               constitutes a deliberate and egregious fraud upon the Bankruptcy Court,
               undermining the integrity of the judicial process and eroding public confidence in
               the legal system. Their calculated manipulation of the court for illicit gain
               represents a profound betrayal of their ethical obligations as officers of the court.

    2. Violation of Rule 8.4: Misconduct: Rule 8.4 of the Georgia Rules of Professional Conduct
       broadly proscribes professional misconduct, including conduct involving dishonesty,
       fraud, deceit, and misrepresentation. Appellees' actions in this matter fall squarely within
       the prohibitions of Rule 8.4, encompassing a wide range of unethical and unprofessional
       behavior:

            a) Dishonesty, Fraud, Deceit, and Misrepresentation: Appellees knowingly,
               willfully, and in bad faith have engaged in an ongoing and continuous pattern of
               dishonesty, fraud, deceit, and misrepresentation through their calculated scheme to
               abuse the judicial system for illicit enrichment. Their conduct was characterized by
               a pervasive lack of candor, a disregard for truthfulness, and a deliberate intent to
               deceive the Bankruptcy Court and creditors.

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            b) Criminal Conduct: Appellees' actions, as detailed in Sections II., A-E, constitute
               violations of multiple federal criminal statutes, further underscoring the egregious
               nature of their professional misconduct. Engaging in criminal conduct as officers
               of the court represents a profound breach of their ethical responsibilities and a
               grave disservice to the legal profession.
            c) Conduct Prejudicial to the Administration of Justice: Appellees' calculated and
               sustained scheme to defraud the Bankruptcy Court and creditors, Dkt. 5-1 to 5-10,
               to obstruct justice, and to abuse the judicial process is inherently prejudicial to the
               administration of justice. Their actions undermine public confidence in the courts,
               erode the integrity of the legal profession, and necessitate immediate and decisive
               disciplinary action.

F. Predatory Unlawful Debt Collection, 18 USC 1961(6)(B), Short-Swing Insider
Trading (15 U.S.C. § 78p(b)): Predatory Illicit Profits at the Expense of the Chapter
11 Estate.

        Appellees, specifically KTS Cand its clients, jointly and severally, as § 16 statutory insiders
(fiduciaries) of Group Management (GPMT), are criminally culpable for engaging in predatory,
unlawful debt collection, 18 USC 1961(6)(B), illegal short-swing insider trading in violation of 15
U.S.C. § 78p(b).

    1. Illegal Insider Trading and Generation of Illicit Profits: KTS Clients, by virtue of their
       insider status, engaged in short-swing trading of GPMT securities, generating illicit profits
       exceeding $522 million. These profits were realized at the direct expense of the Chapter
       11 estate, diminishing the value available for legitimate creditors and stakeholders. This
       constitutes a direct violation of 15 U.S.C. § 78p(b).
    2. Strategic Concealment of Insider Trading Liability as Part of Fraudulent Scheme:
       Appellees strategically concealed this massive insider trading liability, a core asset of the
       Chapter 11 estate under 11 U.S.C. § 54l(a)(l), from the Bankruptcy Court and creditors.
       This deliberate concealment was a key component of their overarching scheme to defraud,
       intended to enrich themselves at the expense of the bankruptcy estate and its legitimate
       stakeholders. The KTS Memo itself analyzes and acknowledges this insider trading
       liability, further solidifying the evidentiary basis for this violation and Appellees '
       fraudulent intent.

G. Predatory Egregious Ethical Violations (Georgia Rules of Professional Conduct
3.3 & 8.4): Profound Breach of Duty of Candor and Professional Misconduct

        As officers of the court admitted to practice before the District Court (NDGA) and subject
to the ethical strictures of the State Bar of Georgia' s Rules of Professional Conduct, Appellees,
particularly KTS and its attorneys, have engaged in egregious and undeniable violations of their
professional ethical obligations. Their calculated and sustained scheme to defraud the Bankruptcy
Court and creditors constitutes a profound breach of the duty of candor toward the tribunal (Rule
3.3) and constitutes conduct involving dishonesty, fraud, deceit, and misrepresentation (Rule 8.4).

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    1. Violation of Rule 3.3: Lack of Candor Toward the Tribunal Through False
       Representations and Material Omissions: Rule 3.3 of the Georgia Rules of Professional
       Conduct unequivocally mandates that "a lawyer shall not knowingly ... make a false
       statement of fact or law to a tribunal" or "fail to disclose a material fact to a tribunal when
       disclosure is necessary to avoid assisting a criminal or fraudulent act by the client. "
       Appellees have flagrantly violated this fundamental ethical duty in numerous respects.

           a) Demonstrably False and Misleading Representations Regarding Claim
              Validity: KTS and its attorneys knowingly made demonstrably false and
              misleading representations to the Bankruptcy Court regarding the validity and
              enforceability of their claims based on the Predatory Criminal Usury Subject
              Matter, GX 1-4. These representations were made despite their manifest
              awareness of the criminally usurious and void ab initio nature of these debt
              instruments, as evidenced by the KTS Memo (Exhibit F-10) and Zitter
              Confessions (Exhibit F-11 ). These false representations were disseminated
              through pleadings, motions, and oral arguments before the Bankruptcy Court,
              directly misleading the court and undermining the integrity of the judicial process.
           b) Strategic Con·cealment of Material Facts: Voidness of Debts and Lack of
              Standing: Appellees strategically concealed material facts from the Bankruptcy
              Court that were essential to a just and informed adjudication of the matter. This
              concealment included:

                   1.   The void ab initio nature of the Predatory Criminal Usury Subject
                        Matter debts (GX 1-4): Appellees knowingly failed to disclose that GX 1-
                        4 were criminally usurious under New York Penal Law § 190.40 and
                        therefore legally null and void from their inception. This omission was
                        critical as it directly undermined the legal basis for their claims and their
                        purported standing to appear before the Bankruptcy Court.
                  11.   Lack of Article III Standing: Appellees knowingly failed to disclose their
                        lack of Article III standing to pursue claims related to the Predatory
                        Criminal Usury Subject Matter, a fundamental jurisdictional defect that
                        deprived the Bankruptcy Court of lawful authority to adjudicate their
                        claims.
                 111.   Perpetration of a Fraud Upon the Court: Appellees' cumulative actions,
                        characterized by false representations and strategic concealment of material
                        facts , constitute a calculated and sustained fraud upon the Bankruptcy
                        Court. This fraud was intended to deceive the court into validating and
                        enforcing legally void predatory debt obligations, GX 1-4, and GX 5, and
                        to unjustly enrich Appellees at the expense of the Chapter 11 estate and its
                        legitimate stakeholders. Such conduct is a direct and egregious violation of
                        Rule 3.3's duty of candor.

    2. Violation of Rule 8.4: Engaging in Dishonesty, Fraud, Deceit, and Misrepresentation:
       Rule 8.4 of the Georgia Rules of Professional Conduct proscribes attorney misconduct,


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       specifically prohibiting lawyers from "engag[ing] in conduct involving dishonesty, fraud ,
       deceit, or misrepresentation." Appellees ' actions in this matter demonstrably fall within
       this proscription.

           a) Dishonest and Deceitful Scheme to Abuse the Judicial System: Appellees '
              meticulously planned and have since 2001 relentlessly executed the predatory scam
              and scheme to abuse the Bankruptcy Court for unlawful debt collection activity,
              Dkt. 5-1 to 5-10, and extortion constitutes inherently dishonest and deceitful
              conduct. Their calculated manipulation of the judicial process for illicit personal
              gain is a profound betrayal of the ethical obligations of officers of the court.
           b) Fraudulent Misrepresentations and Concealment: Appellees' dissemination of
              false and misleading representations and their strategic concealment of material
              facts, as detailed in Section 11.G.1 , are, in and of themselves, acts of fraud , deceit,
              and misrepresentation in violation of Rule 8.4. These fraudulent actions were not
              isolated incidents but rather integral components of a larger scheme to defraud.
           c) Racketeering Enterprise and Bankruptcy Fraud Scheme as Manifestations of
              Misconduct: Appellees ' participation in a RICO enterprise and their orchestration
              of a bankruptcy fraud scheme, as detailed in Sections II. B and II. C, are the ultimate
              manifestations of professional misconduct under Rule 8.4. These criminal
              enterprises, characterized by dishonesty, fraud, and deceit, represent the most
              egregious forms of ethical violations for officers of the court.

   3. Demand for Disciplinary Action and Sanctions: The egregious ethical violations
      committed by Appellees, in conjunction with their criminal culpability and liability,
      demand immediate and decisive disciplinary action by this Honorable Court and the State
      Bar of Georgia. These violations, established by Appellees' own judicial admissions and
      irrefutable documentary evidence, underscore the urgent necessity for a Show Cause Order
      and the imposition of severe sanctions to uphold the integrity of the legal profession and
      the judicial process.

III. CONCLUSION
        The foregoing detailed and meticulous analysis, grounded in factual specificity, legal
precedent, and Appellees' own binding judicial admissions, definitively establishes the extensive
criminal culpability and liability of KTS , its agents, and its unregistered broker-dealer clients.
Their actions, characterized by Hobbs Act extortion, racketeering bankruptcy crimes, bankruptcy
fraud, short-swing insider trading, and egregious ethical violations, constitute a grave assault upon
the integrity of the judicial system and demand immediate and decisive judicial intervention.

        This Honorable Court, an Article III United States federal court, is ethically and legally
compelled to issue the requested Show Cause Order, convene an Appellate Status Conference, and
stay the briefing schedule pending a thorough investigation into Appellees ' demonstrably criminal
and unethical conduct. Only through such prompt and decisive action can this Court uphold its



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constitutional mandate, safeguard the integrity of the judicial process, and deter future abuses of
the legal system by unscrupulous actors.

Respectfully submitted,

The Office of Ulysses T. Ware

By: /s/ Ulysses T. Ware

fkts~ ~e,W~
Attorney in Fact for Appellants Group Management (a sole proprietorship) and Ulysses T. Ware

IV. 28 USC § 1654 Pro Se Appellants' Certificate of Service and
Filing.
I, Ulysses T. Ware, attorney in fact for the Appellants, hereby certify under penalty of perjury that
on this 20th day of March 2025, I caused to be served a true and correct copy of the foregoing
Appellants' Memorandum of Law (#6) Analyzing Criminal Culpability and Liability of Kilpatrick
Townsend & Stockton LLP and its Unregistered Broker-Dealer Clients via U.S. mail and
electronic mail to the Chambers of the Hon. District Judge Michael L. Brown and to the Office of
the District Clerk (NDGA), Executive Director Administrative Office of the U.S. Courts, and
Office of the FBI Director.

Signed under oath subject to the penalty of perjury having personal knowledge of the facts ,
pursuant to 28 USC § 1746 this 20th day of March 2025, in Brooklyn, NY.

2:;)D)Ysses T. Ware

;o~ ~_{,;r~ ~tural person, d/b/a Group Management, a sole proprietorship, pursuant
to 28 USC § 1654.




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